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         ATTACHMENT 1
Case 2:15-ml-02668-PSG-SK Document 255-1 Filed 07/28/17 Page 2 of 8 Page ID #:4096



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   13                        UNITED STATES DISTRICT COURT
   14                      CENTRAL DISTRICT OF CALIFORNIA
   15

   16   IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668−BRO (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   17
        ANTITRUST LITIGATION
   18

   19   THIS DOCUMENT RELATES TO:                  REPRESENTATION STATEMENT
   20   ALL ACTIONS
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    1   The following is a list of all of the parties to this action and the information
    2
        regarding their counsel:
    3

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        Restaurant Corp. dba Gael Pub, Gary Lippincott, Jr. and Michael Holinko:
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    2   Cardinals, Inc., Atlanta Falcons Football Club LLC, Baltimore Ravens
        Limited Partnership, Buffalo Bills, Inc., Panthers Football LLC, Chicago
    3   Bears Football Club, Inc., Cincinnati Bengals, Inc., Cleveland Browns LLC,
    4   Dallas Cowboys Football Club, Ltd., Denver Broncos Football Club, Detroit
        Lions, Inc., Green Bay Packers, Inc., Houston NFL Holdings LP, Indianapolis
    5   Colts, Inc., Jacksonville Jaguars Ltd., Kansas City Chiefs Football Club, Inc.,
    6   Miami Dolphins, Ltd., Minnesota Vikings Football Club LLC, New England
        Patriots, LP, New Orleans Louisiana Saints LLC, New York Football Giants,
    7   Inc., New York Jets Football Club, Inc., Oakland Raiders LP, Philadelphia
    8   Eagles Football Club, Inc., Pittsburgh Steelers Sports, Inc., San Diego
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